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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §             Case No: 2:16-cv-0450-JRG
                                    §
vs.                                 §             LEAD CASE
                                    §
CITIBANK, N.A.                      §
                                    §
      Defendant.                    §
___________________________________ §
                                    §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §             Case No: 2:16-cv-0449-JRG
                                    §
vs.                                 §             CONSOLIDATED CASE
                                    §
SUNTRUST BANK                       §
    .                               §
      Defendant.                    §
___________________________________ §


                                          ORDER

        On this day the Court considered the Unopposed Motion to Dismiss SunTrust Bank (Dkt.
No. 89).    It is therefore ORDERED that all claims by and between parties are hereby
DISMISSED WITH PREJUDICE, with each party to bear its own costs, expenses and attorneys’
fees.
         SIGNED this 19th day of December, 2011.
        So ORDERED and SIGNED this 26th day of August, 2016.




                                                      ____________________________________
                                                      RODNEY GILSTRAP
                                                      UNITED STATES DISTRICT JUDGE
